                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,
                                                  DOCKET NO. 3:11CR373-01-W
         vs.

 KHALED FADEL IBRAHIM,

                Defendant.



                                            ORDER

       UPON CONSIDERATION of Defendant’s Motion to Allow Out of District Travel, the

motion is hereby GRANTED. The defendant is allowed to travel to Las Vegas, Nevada on May

20-23, 2013 to attend the CTIA Mobile Marketplace Conference at the Sands Expo &

Conference Center. The defendant is to provide a complete itinerary, including all travel and

lodging details to his Pre-trial Services Officer and abide by any requests and conditions as

requested. His electronic monitoring device should remain on his leg during the trip.




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